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               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF NEW YORK

____________________________________

TYSON POULOS,

                       Plaintiff,
                                               Civ. Action No.
        v.                                     9:18-CV-1279 (GTS/ML)

STEVEN GRIMALDI; “JOHN” GORDON;
MARK ROSS, SR.; RONALD HANSON;
MICHAEL LYONS, JR.; DANIEL REYNOLDS;
and REBECCA BRUNELLE,

                  Defendants.
____________________________________

                                    ORDER

     Tyson Poulos, #14-A-3688, plaintiff in the above entitled action, has

been directed to appear at the U.S. Courthouse and Federal Building, 100

South Clinton Street, Syracuse, New York on November 19, 2021 at 9:00

AM for the purpose of attending an evidentiary hearing relative to the

above entitled case. It appears that Tyson Poulos is presently incarcerated

at the Five Points Correctional Facility located in Romulus, New York. It is

necessary that a Writ of Habeas Corpus Ad Testificandum be issued for

the purpose of securing Tyson Poulos’ presence at said proceeding. While

New York State is required to advance the costs of Poulos’ transportation,

these costs shall be repaid to the state from the monetary award, if any,
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recovered by Poulos at trial.

      Accordingly, it is hereby

      ORDERED, that the clerk of the court issue a Writ of Habeas Corpus

Ad Testificandum directing the United States Marshal for the Northern

District of New York, or his deputies, to serve upon the Superintendent of

the Five Points Correctional Facility this Writ of Habeas Corpus to deliver

Tyson Poulos to the U.S. Courthouse and Federal Building, 100 South

Clinton Street, Syracuse, New York on November 19, 2021, at 9:00 AM

and any recessed date thereafter (the proceeding is estimated to last

one day); and it is further

      ORDERED, that Tyson Poulos may be returned to the State Facility

upon the completion of the evidentiary hearing and is to remain subject to

the confinement imposed upon him by the State of New York; and it is

further

      ORDERED, that New York State shall advance the cost of Tyson

Poulos’ transportation, which shall be repaid to the state from the

monetary award, if any, recovered by Poulos at trial; and it is further

      ORDERED, that the original and certified copy of said Writ be

delivered to the United States Marshal or his authorized deputy for service

upon the named detention facilities stated herein to serve as notice to
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prepare Tyson Poulos for transport; and it is further

      ORDERED, that in the event the action is settled prior to the

evidentiary hearing, it shall be incumbent upon defendant(s} or his/her

authorized representative to notify the designated institution where Tyson

Poulos is housed and cancel such Writ to produce.




Dated: November 10, 2021
       Syracuse, NY
